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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     APR 09 2015
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 RONALD D. ALLEN, Jr.; et al.,                No. 13-55552

               Plaintiffs - Appellants,
                                              D.C. No. 3:12-cv-01668-WQH-KSC
   v.                                         U.S. District Court for Southern
                                              California, San Diego
 ROBERT H. SMITH; et al.,
                                              MANDATE
               Defendants - Appellees.


        The judgment of this Court, entered March 16, 2015, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

        Costs are taxed against the appellant in the amount of $98.60.

                                                 FOR THE COURT:
                                                 Molly C. Dwyer
                                                 Clerk of Court

                                                 Rhonda Roberts
                                                 Deputy Clerk
